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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


     UNITED STATES OF AMERICA,
              Plaintiff,

                       v.                              CIVIL NO. 19-1930 (PAD)
     FUNDS IN THE AMOUNT OF
        $53,082,824.19.00 IN U.S.
   CURRENCY, CONTAINED IN THE
   FOLLOWING ACCOUNTS UNDER
   THE NAME OF BANCO SAN JUAN
          INTERNATIONAL:
     a. xxx-x7689 – MERRILL LYNCH
         ADDRESS: #15 SECOND ST.,
         SUITE 210, GUAYNABO, PR
         00968, UP TO $10,000,000.00;

       b. xxx-x7059 – MERRILL LYNCH
          ADDRESS: 225 LIBERTY ST.,
         41ST FL, NEW YORK, NY 10281,
            UP TO $5,000,000.00; AND

      c. FEDERAL RESERVE BANK OF
           NEW YORK ACCOUNT #
             xxxx-x228-6, UP TO
               $38,082,824.19,

             Defendant.

               CONSENT MOTION FOR VOLUNTARY DISMISSAL
            WITH PREJUDICE OF CIVIL FORFEITURE PROCEEDINGS

TO THE HONORABLE COURT:

       The United States of America respectfully moves the Honorable Court, pursuant to

Rule 41(a)(2) of the Federal Rules of Civil Procedure, for an order of voluntary dismissal in

the instant case. The United States further requests that said order be without the imposition

of costs, expenses, or attorney=s fees on any party.



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       Dismissal is warranted because the parties have reached agreement with respect to

every issue in the above-captioned forfeiture proceeding. The parties agree that the United

States will return the defendant currency to Claimant Banco San Juan Internacional, Inc.

(BSJI). Specifically, within ten business days of the date the Court grants the dismissal of this

action, all funds seized belonging to BSJI, in the aggregate amount of $53,082,824.19, which

includes the funds seized from Merrill Lynch and the Federal Reserve Bank of New York

shall be released and returned to BSJI.

       On February 4, 2020, Counsel for the United States and BSJI conferred and mutually

agreed on the terms detailed above, and further agreed that the dismissal of all claims

contained in the above-captioned Complaint be dismissed with prejudice.

       WHEREFORE, the United States respectfully prays to the Honorable Court that the

present case be dismissed, with prejudice, without the imposition of costs, expenses, or

attorney=s fees imposed on any party.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 5th day of February 2020.


                                                    W. STEPHEN MULDROW
                                                    United States Attorney

                                                    s/David O. Martorani-Dale
                                                    David O. Martorani-Dale
                                                    Assistant U.S. Attorney
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all parties.

       RESPECTFULLY SUBMITTED,

       In San Juan, Puerto Rico, this 5th day of February 2020.

                                                 s/David O. Martorani-Dale
                                                 David O. Martorani-Dale
                                                 Assistant U.S. Attorney
                                                 U.S.D.C.-PR 226004




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